                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

NINA FLECHA, on behalf of herself and       §
all others similarly situated,              §
                                            §
               PLAINTIFF,                   §       CASE NUMBER: 1:16-cv-00792-LY
                                            §
               v.                           §
                                            §
MEDICREDIT, INC., and                       §
FIDELITY AND DEPOSIT                        §
COMPANY OF MARYLAND,                        §
                                            §
               DEFENDANTS.                  §

  PLAINTIFF NINA FLECHA’S MOTION FOR SUMMARY JUDGMENT AGAINST
                    DEFENDANT MEDICREDIT, INC.

       Plaintiff, Nina Flecha, by and through her attorneys, respectfully moves for summary

judgment in her favor pursuant to Rule 56 of the Federal Rules of Civil Procedure on Plaintiff’s

claims under 15 U.S.C. § 1692 et seq. (“FDCPA”). Plaintiff incorporates her Memorandum of Law

in Support of her Motion for Summary Judgment, contemporaneously filed with this Motion.

       WHEREFORE, for the reasons set out in Plaintiff’s Memorandum of Law in Support of

Motion for Summary Judgment, Plaintiff, Nina Flecha, respectfully requests that this Court enter

summary judgment in her favor on her FDCPA claims and against Defendant, and for any other

relief as this Court deems proper.

                                                    Respectfully submitted,


                                                    s/Celetha C. Chatman         _
                                                    Celetha Chatman




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                             CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on March 13, 2018, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such filing
to all attorneys of record.

 Dated: March 13, 2018                                                     Respectfully submitted,


                                                                     By:      /s/ Celetha Chatman

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